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Attorneys for Plaintiff Liza Gardner
                                                     UNITED STATES DISTRICT COURT
  LIZA GARDNER,                                      DISTRICT OF NEW JERSEY
                        Plaintiff,

  -against-                                            DOCKET NO.: 2:24-cv-07729-LMG-JRA

  SEAN COMBS,                                                 DECLARATION OF
  AARON HALL,                                             TYRONE A. BLACKBURN, ESQ.
  DONALD EARLE DEGRATE JR., AKA,
  DEVANTE SWING,
  UMG RECORDINGS, INC., UNIVERSAL
  MUSIC GROUP, N.V.
  JOHN DOES 1-10 (names being fictitious and
  used to connote an unidentified person
  responsible for this occurrence), JANE DOES
  1-10 (names being fictitious and used to
  connote an unidentified person responsible for
  this occurrence), ABC CORPORATIONS 1-10
  (names being fictitious and used to connote
  unidentified entities responsible for this
  occurrence),
                          Defendants.

       I, Tyrone A. Blackburn, Esq., hereby declare under penalty of perjury pursuant to 28 U.S.C.
§ 1746 as follows:
   1. I am the principal attorney at T. A. BLACKBURN LAW, PLLC, located at 90 Broad Street,
       2nd Floor, New York, NY 10004, and I am counsel of record for Plaintiff Liza Gardner in
       the above-captioned matter.
   2. I submit this Declaration in support of Plaintiff’s Joint Opposition to Defendants’ Motions
       to Dismiss filed by Defendants Sean Combs, UMG Recordings, Inc., and Universal Music
       Group, N.V.
   3. I have personal knowledge of the matters set forth herein, and if called as a witness, I could
       and would competently testify to the following facts.
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    4. The purpose of this Declaration is to authenticate and submit Exhibits A-F attached hereto,
       which are referenced in Plaintiff’s Opposition to Defendants’ Motions to Dismiss and are
       integral to demonstrating Defendants’ jurisdictional contacts, misconduct, and liability.
    5. These exhibits provide documentary and testimonial evidence supporting Plaintiff’s well-
       pleaded allegations and confirming Defendants’ direct and indirect roles in the events
       giving rise to this litigation.
    6. I attach the following true and correct copies of exhibits referenced in Plaintiff’s filings:
           a. Exhibit A – First Amended Complaint filed in this action, which sets forth
               Plaintiff’s claims in detail.
           b. Exhibit B – Sworn Declaration of Kirk Burrowes, providing a firsthand account
               of the UMG Defendants subsidiary, UpTown Records/MCA Records, and
               Defendant Sean Combs from 1989/1990 to his departure in the early 2000’s.
           c. Exhibit C – Affidavits of Monica Case, an individual pictured with Plaintiff from
               the day of her rape by Defendants Combs and Hall. Monica Case has firsthand
               knowledge of Defendants’ actions, corroborating Plaintiff’s allegations.
           d. Exhibit D – Case Law, including:
                  i. RK Newark 2 Doe v. Roman Cath. Archdiocese, No. A-3100-22, 2024 N.J.
                     Super. Unpub. LEXIS 3239 (Super. Ct. App. Div. Dec. 31, 2024),
                 ii. S.Y. v. Roman Catholic Diocese of Paterson, Civil Action No. 20-2605 (ES)
                     (CLW), 2021 U.S. Dist. LEXIS 188333 (D.N.J. Sep. 30, 2021).
           e. Exhibit E – Combs Federal Indictment:
                    i. Federal Indictment Of Sean Combs: The indictment United States v. Sean
                       Combs (Case No. 1:24-cr-00542) charges Combs with racketeering, sex
                       trafficking, forced labor, kidnapping, arson, bribery, and obstruction of
                       justice. Prosecutors allege that for decades, Combs operated a criminal
                       enterprise through Bad Boy Entertainment, Combs Global, and related
                       entities, using his businesses and employees to facilitate and conceal
                       systematic abuse, drug-facilitated sex trafficking, and financial control over
                       victims. He allegedly orchestrated "Freak Offs", where women
                       were coerced into sex acts, drugged, and filmed without consent, while
                       associates ensured their compliance through intimidation, surveillance, and
                       threats. Investigators seized firearms, narcotics, and trafficking
                       supplies from his properties, and the indictment details acts of kidnapping,
                       physical violence, and bribery to silence witnesses. The government
                       seeks asset forfeiture, and if convicted, Combs faces severe penalties,
                       including lengthy prison sentences.
                   ii. The Superseding Federal Indictment Of Sean Combs: The superseding
                       indictment in United States v. Sean Combs (Case No. 1:24-cr-00542)


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                   expands on previous charges, adding new allegations of sex trafficking,
                   forced labor, obstruction of justice, and violent criminal activity.
                   Prosecutors detail how Combs allegedly used his businesses (Bad Boy
                   Entertainment, Combs Global, etc.) as a front for a criminal enterprise that
                   engaged in drugging, coercing, and trafficking victims for commercial sex,
                   physically assaulting them, and using threats, surveillance, and financial
                   control to maintain dominance. The indictment describes "Freak Offs"—
                   events where victims were drugged, forced into sex acts, filmed without
                   consent, and subjected to violence—with associates facilitating the abuse.
                   Law enforcement seized firearms, narcotics, and trafficking supplies, and
                   evidence suggests bribery and intimidation of witnesses to cover up crimes.
                   The government seeks asset forfeiture, and Combs faces severe federal
                   penalties, including potential life imprisonment, if convicted.
         f. Exhibit F – Public Records, Investigative Reports, and Media Coverage,
            including prior lawsuits, settlements, and investigations related to Defendant’s
            regarding similar misconduct:
                  i. Dawn Angelique Richard v. Sean Combs;1-24-cv-06848: alleges
                     that Combs subjected Richard to years of abuse, exploitation, and
                     violence during her time as a member of Danity Kane and Diddy – Dirty
                     Money. The complaint details physical assaults, forced labor, sexual
                     harassment, false imprisonment, and threats of retaliation.
                 ii. Crystal McKinney v. Sean Combs; 1-24-cv-03931: alleges that in 2003, the
                     plaintiff, then a 22-year-old model, was drugged and sexually assaulted by
                     Combs at Daddy’s House Recording Studio in Manhattan.
               iii. John Doe v. Sean Combs; 1-25-cv-00996: alleges that over a five-year
                     period (2007–2012), the plaintiff, a Las Vegas-based entertainer and
                     aspiring musician, was sexually abused, drugged, and exploited by
                     Combs under the pretense of receiving help for his music career.
                iv. Jane Doe v. Sean Combs; 1-24-cv-09852: alleges that in 1991, the plaintiff,
                     then visiting New York City, was drugged and raped by Sean
                     Combs at City College during a charity basketball event.
                 v. John Doe v. Sean Combs; 1-24-cv-08852: alleges that in 2022, the plaintiff,
                     then 39 years old, was drugged and raped by Combs at a private party in
                     New York City. The plaintiff claims he was given a drink laced with drugs,
                     including GHB or ecstasy, which caused him to lose consciousness.
                vi. Anthony Tate v. Sean Combs; 1-24-cv-08810: alleges that in 2022, the
                     plaintiff was drugged and raped by Combs at an after-party in Miami,
                     Florida. The plaintiff claims that he was invited to the party by Combs’
                     associates, given a laced drink containing GHB or ecstasy, and became
                     disoriented.
               vii. Jane Doe v. Sean Combs;1-24-cv-08808: alleges that in 2001, the plaintiff,
                     then 18 years old, was drugged and sexually assaulted by Combs and his
                     security team after a Halloween party at Club New Yorker in Manhattan.
                     The plaintiff claims she and two friends were escorted to a limousine, where



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                     she was given a drink laced with GHB or ecstasy, causing severe
                     intoxication and disorientation.
             viii.   Jane Doe v. Sean Combs;1-24-cv-08054: alleges that in 2004, the plaintiff,
                     then 19 years old, was drugged and raped by Combs at a Marriott hotel in
                     Manhattan after being invited to an after-party following a promotional
                     photoshoot for Bad Boy Entertainment.
              ix.    John Doe v. Sean Combs;1-24-cv-08812: alleges that in 2001, the plaintiff,
                     an aspiring actor, was drugged and gang-raped by Combs and multiple
                     individuals at a hotel in New York City under the pretense of an audition
                     for a music video role.
               x.    Jane Doe v. Sean Combs;1-24-cv-08813: alleges that in 2004, the plaintiff,
                     then 17 years old, was drugged and raped by Combs at a Fourth of July
                     party at his Hamptons estate. The plaintiff claims she was invited to the
                     event by Combs' associates, had her phone and purse confiscated upon
                     arrival, and was given a laced drink that caused severe disorientation and
                     unconsciousness.
              xi.    Jane Doe v. Combs;1-24-cv-07778: alleges that in 1998, the plaintiff, then
                     16 years old, was sexually assaulted by Combs at a "white party" at Combs’
                     Hamptons residence. The plaintiff, who was invited under the pretense of
                     networking in the music industry, claims that Combs lured him to a
                     secluded area, coerced him into exposing himself, and forcibly groped his
                     genitals.
              xii.   John Doe v. Combs; 1-24-cv-07973: alleges that Combs sexually assaulted
                     the plaintiff, a businessman from Los Angeles, during a 2022 Cîroc Vodka
                     promotional party in Los Angeles. The plaintiff, who had a prior business
                     relationship with Combs, was invited to the event, where Combs allegedly
                     took him into a private office, exposed himself, and forcibly groped the
                     plaintiff’s genitals.
             xiii.   John Doe v. Combs; 1-24-cv-07974: alleges that the plaintiff, a personal
                     trainer, was drugged and sexually assaulted by Combs and others, including
                     an unnamed "Celebrity A," at a 2022 awards show after-party hosted by
                     Combs in Los Angeles. The plaintiff claims he was invited under the
                     pretense of networking, made to sign an NDA, and given a drink allegedly
                     spiked with GHB, after which he was led into a private room where he
                     became disoriented.
             xiv.    Jane Doe v. Combs; 1-24-cv-07977: alleges that in 2014, the plaintiff
                     attended a Las Vegas after-party hosted by Combs, where she was drugged
                     and sexually assaulted. The plaintiff, who was invited by a Combs-affiliated
                     party promoter, attended a celebrity-filled event at Club Rehab before being
                     taken to an after-party at Combs’ suite at Planet Hollywood.
              xv.    Jane Doe v. Combs; 1-24-cv-08024: alleges that in December 2022, the
                     plaintiff, a 29-year-old independent music artist, was drugged and raped at
                     a Manhattan house party hosted by Combs. The plaintiff, who attended with
                     friends, was offered drugs by house staff, which she declined, and later
                     engaged in a conversation with Combs about her music career.




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                xvi. Jane Doe v. Combs; 1-24-cv-7769: alleges that in 2004, the plaintiff, then
                     a 19-year-old college student, was drugged and raped by Combs at
                     a Manhattan Marriott hotel after being invited to an after-party following a
                     promotional photoshoot for his record label, Bad Boy Entertainment. The
                     plaintiff and a friend were taken to Combs’ hotel suite, where a security
                     guard allegedly led them into a private room, locked the door, and left them
                     alone with Combs.
               xvii. John Doe v. Sean Combs; 1-24-cv-7778: alleges that Combs sexually
                     assaulted the plaintiff, then a 16-year-old minor, at a "white party" in 1998
                     at his Hamptons residence. The plaintiff, invited under the pretense of
                     networking in the music industry, claims that Combs lured him to a private
                     area, forcibly groped his genitals, and attempted to groom him.
              xviii. Jane Doe v. Combs;1-24-cv-7777: alleges that in 1995, the plaintiff, then
                     a young woman, was brutally assaulted and raped by Sean Combs at
                     a promotional party for the music video "One More Chance" by Biggie
                     Smalls in New York City. The complaint states that Combs lured her into a
                     private bathroom under the pretense of conversation, then forcibly kissed
                     her.
                xix. John Doe v. Combs; 1-24-cv-7776: alleges that in 2006, the plaintiff, then
                     employed as a security guard, was drugged and sexually assaulted by
                     Combs at a “white party” in the Hamptons. The plaintiff claims that Combs
                     provided him with two alcoholic drinks, which he later realized had
                     been laced with drugs, including GHB or ecstasy.
                 xx. John Doe v. Combs; 1-24-cv-7774: alleges that in 2008, the plaintiff, who
                     worked as an advisor for Ecko Clothing, was physically assaulted and
                     sexually abused by Combs in the stockroom of Macy’s Herald Square in
                     Manhattan. The complaint states that Combs and three bodyguards
                     cornered the plaintiff in a secluded stockroom, where Combs struck him at
                     the base of the neck, knocking him to the ground.
                xxi. John Doe v. Combs; 1-24-cv-07772: alleges that in October 2021, the
                     plaintiff, who worked in the entertainment industry, was drugged and
                     sexually assaulted at a party hosted by Combs in New York City. The
                     plaintiff claims he was invited by Combs' associates, transported from the
                     airport, and pressured to take drugs, which he refused.
    7. Each exhibit attached hereto is a true, accurate, and complete copy of the original
       document.
    8. These exhibits have been properly sourced, authenticated, and referenced in Plaintiff’s
       Memorandum of Law in Opposition to Defendants’ Motions to Dismiss.
    9. Plaintiff respectfully requests that the Court take judicial notice of the publicly available
       documents attached hereto, pursuant to Federal Rule of Evidence 201, as these materials
       contain relevant, indisputable facts directly impacting the claims asserted in this case.




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    10. Based on the foregoing, and for the reasons set forth in Plaintiff’s Opposition to
       Defendants’ Motions to Dismiss, Plaintiff respectfully requests that the Court:
           a. Deny Defendants’ motions to dismiss in their entirety;
           b. Find that Plaintiff has sufficiently pleaded claims under both federal and state law;
           c. Permit discovery to proceed, allowing Plaintiff to gather further evidence
              supporting her allegations; and
           d. Grant such other and further relief as this Court deems just and proper.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge.

DATED: February 10, 2025
                                                                      /s/Tyrone a. Blackburn, esq.
                                                                     TYRONE A. BLACKBURN
                                                                     T. A. Blackburn Law, PLLC




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